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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                            CRIMINAL ACTION

VERSUS                                              NOS: 12-198 & 13-66

WALTER PORTER                                       SECTION: R


                        ORDER AND REASONS

     Before the Court is the "motion" of defendant Walter Porter dated

November 16, 2015. Porter claims ineffective assistance of counsel and seeks

removal of counsel of record. Porter makes substantially the same arguments

he articulated to the Court in previous letters dated October 4, 2013, October

23, 2013, and August 31, 2015. Defendant's current counsel has been most

vigilant in protecting defendant's rights and pursuing viable avenues of

defense. The right to counsel of choice does not extend to defendants who

require counsel to be appointed for them. United States v. Gonzalez-Lopez,

548 U.S. 140, 152 (2006) (citing Wheat v. United States, 486 U.S. 153, 159

(1988)); Cantu-Tzin v. Johnson, 162 F.3d 295, 300 (5th Cir. 1998) (citing

United States v. Breeland, 53 F.3d 100, 106, n.11 (5th Cir. 1995). Moreover,

mere disagreement about strategic litigation decisions does not amount to a

conflict of interest that would warrant appointment of new counsel. United
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States v. Fields, 483 F.3d 313, 353 (5th Cir. 2007). Accordingly, the Court

DENIES defendant's "motion."

      As this Court has previously indicated, defendant should refrain from

writing letters directly to the Court in this matter.



      New Orleans, Louisiana, this ___
                                   1st day of December, 2015.



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                           SARAH S. VANCE
                    UNITED STATES DISTRICT JUDGE




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